           Case 21-10200-amc          Doc 62     Filed 08/17/21 Entered 08/17/21 09:12:41     Desc
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                        Chapter 13

                                                        Bankruptcy No. 21-10200-AMC


         ADAM M. WEISBAUM

         68 SKYLINE DRIVE

         CHALFONT, PA 18914

               Debtor

                                          CERTIFICATE OF SERVICE


        AND NOW, comes William C. Miller, Esquire, Chapter 13 standing trustee, and certifies that he served
the attached Motion to Dismiss on the following parties as indicated below:

   Debtor(s), at the address listed, by first class mail.

         ADAM M. WEISBAUM

         68 SKYLINE DRIVE

         CHALFONT, PA 18914


Counsel for debtor(s), by electronic notice only.

         JON M ADELSTEIN ESQ
         3993 HUNTINGDON PIKE
         SUITE 210
         HUNTINGDON VALLEY, PA 19006-
                                                        /S/ William C. Miller
Date: 8/11/2021                                         ______________________________
                                                        William C. Miller, Esquire
                                                        Chapter 13 Standing Trustee
